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 UNITED STATES DISTRICT COURT                  framework." United States v. Stossel, 348
 SOUTHERN DISTRICT OF GEORGIA                  F.3d 1320, 1322 n.2 (11th Cir. 2003).
     STATESBORO DIVISION
                                                   To the extent Rock challenges the
UNITED STATES OF AMERICA,                      Bureau of Prisons's execution of his
                                               sentence, this motion is properly cognizable
V   .                 6:09-cr-48-18            under 28 U.S.C. § 2241. See Antonelli i'.
                                               Warden, US.P. Atlanta, 542 F.3d 1348,
ROBERT ROCK,                                   1352 n.l (11th Cir. 2008). If this motion is
                                               so construed, however, Rock should have
Defendan t.
                                               filed it in the district of his confinement.
                 ORDER                         See 28 U.S.C. § 2241(a). He also would be
                                               subject to administrative exhaustion
    Before the Court is Robert Rock's
                                               requirements, which Rock has made no
Motion Pursuant to Rule 60(b)(6) to Correct
                                               showing of. See Skinner v. Wiley, 355 F.3d
and Amend the PSR. ECF No. 1050. Rock
                                               1293, 1295 (11th Cir. 2004) ("[P]risoners
seeks to have information on his drug and
                                               seeking . . . relief pursuant to § 2241 [] are
alcohol addictions added to his presentence
                                               subject to administrative exhaustion
investigation report ("PSI") so he qualifies
                                               requirements.").
for a prison drug rehabilitation program.
See Id. at 1. But Rock utilizes the wrong          But rather than construe this motion as a
procedural vehicle for such a request. His     habeas petition, the Court chooses instead to
motion must be DENIED.                         DENY the motion and give Rock a chance
                                               to pursue the administrative relief with the
    Rock filed his motion pursuant to
                                               Bureau of Prisons he should have sought
Federal Rule of Civil Procedure 60(b)(6).
                                               before turning to the Court.
Unfortunately for Rock, Rule 60 "does not
provide relief from judgment in a criminal
case." United States v. Mosavi, 138 F.3d       This /   7day of April 2013.
1365, 1366(11th Cir. 1998). It also "cannot
be used to challenge a sentence." United
States v. Zuluaga, 192 F. App'x 944, 945
(11th Cir. 2006) (citing Mosavi, 138 F.3d at
1366). Although Rock seeks a change in         B. AV       NFIELD, JUDG
his PSI, not to his sentence or judgment, at   UNITED STATES DISTRICT C URT
bottom he attempts to use a civil procedure    SOUTHERN DISTRICT OF GE RGIA
tool to fix an alleged criminal proceeding
defect. That dog simply will not hunt.
    Nevertheless, "{f]ederal courts are
obligated to look beyond the label of a pro
se inmate's motion to determine if it is
cognizable under a different statutory
